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                                UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT


 DENIS MARC AUDET, et al.,                                 Civil Action No. 3:16-cv-00940

                                    Plaintiffs,            Honorable Michael P. Shea

                          vs.                              Magistrate Judge Donna F. Martinez

 STUART A. FRASER, GAW MINERS,                             (ECF Case)
 LLC, and ZENMINER, LLC,

                                    Defendants.
                                                           November 30, 2018


                  REPLY MEMORANDUM IN SUPPORT OF
       DEFENDANT STUART A. FRASER’S MOTION TO COMPEL DISCOVERY

         If wishes were horses, then Plaintiffs would ride. Plaintiffs wish Fraser agreed that the

Shinners Communications 1 constitute work product; in fact he did not, because they do not.

Plaintiffs wish that, at Shinners’ deposition, Fraser “didn’t ask a single question about his

communications with other class members” (Plaintiffs’ Memorandum of Law in Opposition to

Defendant’s Motion to Compel Discovery (“Opp.”), ECF No. 106 at 1); in fact he did so, and

expressly reserved the right to ask additional questions pending the Court’s ruling on this

Motion. Plaintiffs wish the law placed on Fraser the burden of disproving Plaintiff’s claim of

work product privilege; it does not, for good reason. Where, as here, Plaintiffs apply the same

generic phrase to describe 1,409 non-attorney communications made by a host of different

individuals over a period of eight months, they fail to meet the heavy burden the law imposes on

them to invoke that privilege. Finally, Plaintiffs wish Fraser could obtain these non-attorney




1.   Terms not defined herein have the meaning ascribed to them in Defendant Stuart A. Fraser’s Memorandum of
     Law in Support of Motion to Compel Discovery, ECF No. 104 (“Motion” or “Mot.”).
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communications from someone else, somewhere else; yet Plaintiffs provide no identities for

either the sender or recipients of many of those communications. Requiring Fraser to locate and

subpoena documents from hundreds of non-parties whose only identifiers are email addresses

such as “Crypto Man,” “BIThome,” “Alpha Dog” and “John j” is pure wishful thinking, and not

what the law commands.

       Plaintiffs admit that the Shinners Communications were not created by, for, or at the

direction of counsel, and did not involve attorneys; they also concede that “[w]ork product

created by non-attorneys . . . will not receive heightened protection from discovery.” (Opp. at 8.)

Plaintiffs then go on to pose two inquiries in their opposition memorandum: “What unique

defenses or information about individual issues does Fraser hope to discover? Why does he

think information about those unique defenses or individual issues will be in the emails?” (Opp.

at 8-9.) To the extent possible without access to the Shinners Communications — a guessing

game Plaintiffs unfairly require Fraser to play on this Motion — Fraser answers those questions

below, and further refutes Plaintiffs’ attempt to shield their pre-litigation, non-attorney

communications from the light of day.

       Because (1) Plaintiffs have not met their burden in establishing that work product

protection applies to the Shinners Communications, (2) Fraser has a substantial need for those

communications, and (3) Plaintiffs’ Privilege Log is substantively inadequate, the Court should

compel Plaintiffs to produce the Shinners Communications.

I.     Work Product Protection Does Not Apply To The Shinners Communications.

       Plaintiffs claim that Fraser does not dispute that the Shinners Communications meet the

definition of protected work product. (Opp. at 1, 4.) To the contrary, Fraser reiterates




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throughout his Motion that Plaintiffs have not met their initial burden of demonstrating that the

work product protection applies. 2

         Plaintiffs also incorrectly attempt to transfer the burden of proof to Fraser. Yet, before

any burden shifts to Fraser, Plaintiffs must first prove their entitlement to work product

protection. (See Mot. at 3-4.) Plaintiffs claim they have met that burden because Fraser was able

to assess Plaintiffs’ work product assertion and “found it wanting.” (Opp. at 2.) This is not the

case: it is because no one (Fraser included) could conclude that the Shinners Communications

are entitled to work product protection, in part due to the lack of identifying information on the

Privilege Log, that Fraser brought this Motion. And even if Plaintiffs had met their initial

burden, which they have not, Fraser has shown a substantial need for the documents at issue.

(Mot. at 6-7; see Section IV, below.)

         Plaintiffs also misstate Fraser’s position on why the work product protection does not

apply. (Opp. at 5-8.) Fraser acknowledges that attorneys need not be involved to establish work

product protection. (Mot. at 4 (“the work product may, at times, extend to documents prepared

by a party without attorney involvement”).) Fraser observes, however, that, “the doctrine does

not extend so far as to categorically protect all communications from a party to a non-party or a

non-party to a party,” a point that Plaintiffs fail to address in their Opposition. (Id. at 4.)

Further, Plaintiffs fail to address the differing tiers of work product protection outlined in Lapaix

v. City of New York, which explained that “documents prepared by an agent for the attorney, by a

party, and by an agent for a party are each one further step removed from the core [of attorney




2.   See, e.g., Mot. at 4 (“Here, work product protection does not extend to the Shinners Communications because
     they are not the work product of Shinners acting as or at the direction of Plaintiffs’ counsel, and were in large
     part made by non-parties.”); Mot. at 5 (“The Shinners Communications are not entitled to work product
     protection because they are non-attorney communications that were either sent by or to non-parties”); id. at 7
     (“Plaintiffs Privilege Log does not articulate a sufficient basis for work product protection”).

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work product] and presumed to have a correspondingly weaker basis for protection.” No. 13-cv-

07306 (LGS) (SN), 2014 WL 11343854, at *3 (S.D.N.Y. Aug. 15, 2014). (See Opp. at 7-8.)

And the Second Circuit Court of Appeals decision cited by Fraser to support his position that the

Shinners Communications are not entitled to work product protection, while a summary order,

remains persuasive authority. See Mercado v. Commissioner of Corrections, No. 3:15-cv-33

(VLB), 2015 WL 5162484, at *2 (D. Conn. Sept. 1, 2015) (finding Court of Appeals’ summary

order to be “persuasive authority”).

II.       Fraser Demonstrates Substantial Need For The Shinners Communications

          Plaintiffs contend that Fraser has not established substantial need for the Shinners

Communications because “Fraser recently deposed Shinners and didn’t ask a single question

about his communications with other class members.” (Opp. at 1.)3 The deposition transcript

shows the opposite: Fraser’s counsel asked Shinners directly about his communications with

putative class members during his deposition:

          Q.       Did you select the other three plaintiffs?
          A.       I had a – I compiled a long list of people based off the amount of losses, where
                   their geographic locations were, whether I had spoken to them on Hash Talk
                   before.
                   They’re – basically, I wanted to get a short list of individuals that I felt
                   comfortable with and who warranted, you know, this kind of position. . . .
          Q.       And in the end, you winnowed it down to you and your three other plaintiffs,
                   right?
          A.       Yes.
          Q.       Okay. What were the factors that made you feel, in your words, comfortable with
                   the three other plaintiffs in this case?
          A.       Their level . . . their ability to fulfill the obligations as lead plaintiffs in a – in a
                   prospective class action lawsuit, their geographic location, and how much their
                   losses were, so that there’s self-motivation.




3.    Plaintiffs later qualify that misrepresentation, conceding that Fraser “asked almost no questions about his
      communications with class members.” (Opp. at 9; emphasis added.)

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(Affirmation of Sarah L. Cave in Support of this Reply Memorandum (“Cave Aff.”) Ex. A-1 (the

“Shinners Dep. Tr.”) at 39:5-40:8; see also id. at 40:8-42:18.) Fraser also reserved the right to

ask further questions regarding the Privilege Log because of the parties’ work product dispute. 4

         Plaintiffs also argue that Fraser has not established his need for the Class

Communications because he has not “tried to obtain discovery from absent class members.”

(Opp. at 1, 9.) But this is the very point at issue here — as Fraser explained in his Motion, the

Privilege Log does not provide sufficient information to identify potential class members, thus

making it impossible as a practical matter for Fraser to obtain discovery from these putative class

members. (Mot. at 6-7.)

         Additionally, Plaintiffs assert that their production includes documents uploaded to a

website created by Shinners for purposes of organizing this suit by “approximately 170 members

of the putative class,” but acknowledges that “approximately 500 individuals initially expressed

interest in the lawsuit.” (Declaration of Allen Shinners Re: Defendant Stuart A. Fraser’s Motion

to Compel Discovery, ECF No. 106-1 (“Shinners Decl.”) ¶ 5; Opp. at 10.) There are thus

hundreds of individuals for whom Shinners has information (including as to purported

cryptocurrency losses and other pertinent details) that Plaintiffs have not shared with Fraser in

even its most basic form (i.e., the documents those individuals did not upload to Shinners’ site).

(Shinners Decl. ¶ 5.) Plaintiffs do not state how Fraser could reasonably uncover this

information otherwise. (Opp. at 10.) Finally, Plaintiffs’ position that Fraser should simply

request these communications from the other parties to these emails effectively concedes that




4.   See Shinners Dep. Tr. at 360:8-17 (“So, Mr. Shinners, we have no further questions for you today. . . . we have
     a couple of document disputes with your counsel, including relating to the Garza notes and some issues with
     documents on the privilege log, and so subject to resolution of those disputes, we’ll — we reserve our right to
     seek to ask you more questions and — and reopen your deposition.”) (emphasis added).

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these documents are not protected work product and are discoverable. (Opp. at 9.) The Court

should not endorse Plaintiffs’ game of hide-the-ball.

III.   The Shinners Communications Are Relevant.

       Plaintiffs complain that Fraser “makes no effort to explain” how the Shinners

Communications could be relevant to the issues in this litigation. (Opp. at 8.) This, again, is

false. Fraser explicitly stated in his Motion that those documents are relevant to his defense:

       In all likelihood, the Shinners Communications will reveal facts central to the issue of
       class certification such as: (1) whether unique defenses apply to Shinners or the other
       named Plaintiffs; (2) whether unique defenses apply to a subset of putative class
       members; and (3) whether individual issues—particularly as to standing, reliance loss
       causation and damages—predominate over common questions.

(Mot. at 6-7.) (See also Defendant Stuart A. Fraser’s Memorandum of Law in Opposition to

Plaintiffs’ Motion for Class Certification (“Opp. to Class Cert.”), ECF No. 107, at 13, 17-19, 36-

40.) To force Fraser to detail more specifically his need for these communications— without

having seen them — would require Fraser to speculate, which is not a burden the law imposes on

him.

       Plaintiffs argue that documents uploaded to the website created by Shinners for this

action “can presumably be used by Fraser to establish his defenses.” (Opp. at 10.) But Plaintiffs

do not define the putative class based on whether an individual uploaded documents to a website.

(Memorandum of Law in Support of Plaintiffs’ Motion for Class Certification, ECF No. 97

(“Class Cert Mot.”) at 1.) If the individuals who did not upload documents provided information

to Shinners (for example, regarding their purported losses or identifying their various accounts),

that information would directly support Fraser’s arguments in opposition to class certification

involving unique defenses. (Opp. to Class Cert. at Section V. A (2), (3).) And even if the class

were comprised solely of those individuals who had uploaded documents, the information sought



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by Shinners in his communications with putative class members goes to the heart of Fraser’s

defenses, including potential individualized questions and defenses. (See, e.g., Opp. to Class

Cert. at Sections III.A (individual issues regarding reliance), III.B (individual issues regarding

loss causation), III.C (individual issues involving potential standing issues and exclusions to the

putative class), IV (foreign putative class members should be excluded).) 5

IV.       Plaintiffs’ Privilege Log Is Inadequate.

          Plaintiffs claim that the generic document description in their Privilege Log applied to

nearly every one of the 1,409 communications at issue (“Email sent for purposes or

organizing/gathering information for lawsuit/class action”) is adequate. (Opp. at 11.) For the

reasons explained in the Motion, it is not. (Mot. at 7-8.)

          In a belated attempt to supplement their insufficient Privilege Log, Plaintiffs attach a

declaration by Shinners to their Opposition. However, Shinners’ Declaration fails to correct the

deficient identifying information in the Privilege Log, which continues to lack “sufficient

substantive detail for a meaningful review of the application of the privilege.” Bolorin v.

Borrino, 248 F.R.D. 93, 95 (D. Conn. 2008). (See generally Shinners Decl.; see also Mot. at 7-

8.)




5.    See Shinners Dep. Tr. at 39:5-10 (“I compiled a long list of people based off of the amount of losses, where
      their geographic locations were, whether I had spoken to them on HashTalk before”); 40:3-8 (Shinners looked
      for “their ability to fulfill their obligations as lead plaintiffs in a – in a prospective class action lawsuit, their
      geographic locations, and how much their losses were, so that there’s self-motivation”); 41:24-42:9 (“I had my
      own list of characteristics that I was looking for . . . . So there were some, you know, personal questions,
      nothing extraordinary, just normal run-of-the-mill personal questions and, of course, the other three items,
      mostly, which was geographic proximity, you know, how much were their losses, and like I said.”); Shinners
      Decl. (ECF 106-1) ¶ 4 (“My primary purpose in emailing other investors was to gauge their interest in
      participating in a class action lawsuit, to verify that the investors purchased products from GAW Miners, and to
      attempt to determine the extent of their losses.”). Compare Cave Aff. Ex. A-2 (Plaintiff Michael Pfeiffer
      Release of Accounts) with Shinners Decl. ¶ 5 (“One of the purposes of the website was to allow investors to
      upload documents relating to their purchases of products from GAW Miners”).

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         Plaintiffs acknowledge that the Privilege Log contains many nicknames or incomplete

names (Opp. at 12), but fail to address the facts that (a) there is no way to connect this sparse

information to the databases that Plaintiffs produced and (b) there is no other reasonable way for

Fraser to identify putative class members. The inability to glean the most basic information from

the Privilege Log (i.e., the identities of the parties with whom Shinners communicated) further

highlights the deficiencies in that Log. Without the identities of these parties, it is impossible for

Fraser to assess whether the protection applies. (See Mot. at 7.)

V.       If The Shinners’ Communications Were Provided To the FBI, The Protection Is
         Waived.

         Plaintiffs now assert that Shinners did not provide the documents to the FBI, and that this

invalidates the waiver argument. (Opp. at 13-14.) But Shinners testified under oath at his

deposition that he sent all of the documents he had to his counsel in this case and to the FBI

(“They have everything that I have given the law firm. They have every document, . . . anything

that I had come across or had obtained during the process here and for the last three-plus years,

they have everything”) (Shinners Dep. Tr. at 167:7-12), which necessarily includes the emails

that form the subject of the Privilege Log. (As Plaintiffs helpfully point out, “emails . . . are

plainly documents.” (Opp. at 1; see also Shinners Decl. ¶ 6 (“I provided my emails with other

investors . . . to my attorneys”).) Despite conceding that his counsel holds copies of the Shinners

Communications (Shinners Decl. ¶ 6), Shinners recants his prior testimony and claims he did not

provide the FBI with the Shinners Communications. 6 (Id. ¶ 7.) Without an opportunity to

confront Shinners on this issue, Fraser has no way to test Shinners’ new, contradictory




6.   Tellingly, Shinners now declares that he did not provide the documents to the FBI only because the FBI “did
     not determine that they would be of value in their ongoing investigation,” not because they are protected work
     product. (Shinners Decl. ¶ 9.)

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testimony. Similarly, although the Shinners Communications indisputably occurred as much as

seven months before Plaintiffs had their very first privileged communications with counsel

(compare Priv. Log entry 1 (dated Jan. 11, 2015) with entry 1410 (first entry classified as

attorney-client privilege, dated Aug. 18, 2015)), Shinners now avers that he “was in constant

communication with lawyers during this time.” (Opp. at 2.) Shinners’ new recollection —

suddenly and mysteriously refreshed for purposes of this Motion — is all too convenient.

       Shinners did not seek to correct or clarify his testimony until this Motion, despite ample

time and opportunity to do so and despite having notice of Fraser’s understanding of the plain

meaning of Shinners’ testimony. (See, e.g., ECF No. 93 (letter from Fraser to Court discussing

Plaintiffs’ waiver by submission of documents to the FBI).) Fraser submitted the letter that led

to this Motion after several attempts to resolve this dispute with Plaintiffs’ attorneys through

telephone calls and emails, during which Fraser pressed the argument that Plaintiffs waived the

protection by providing the Shinners Communications to the FBI. Plaintiffs’ counsel did not

once correct the record, until now.




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                                        CONCLUSION

       Fraser requests that the Court order Plaintiffs to produce the Shinners Communications to

Fraser. At the very least, Fraser requests that the Court examine these documents in camera to

determine whether Plaintiffs’ refusal to disclose those communications is justified.


Dated: November 30, 2018

                                                     Respectfully submitted,


                                                     By: /s/ Sarah L. Cave


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